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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELÁ.WARE

In re:                                                       Chapter I I

FTX TRADING LTD.,et a1.,1                                    Case No. 22-11068 (JTD)

         Debtors.                                            (Jointly Administered)

                                                           Obj. Deadline: February 27, 2023 at 4:00 p.m, BT


                 FIRST MONTHLY FEE STATEMENT OF
        QUINN EM.A.NUEL URQUHART & SULLIVAN, LLP AS SPECIAL
        COUNSEL TO THE DEBTORS Á.ND DEBTORS-IN.POSSESSION
      FOR COMPENSATION FOR PROFESSIONAL SERVICES RENDERED
     AND REIMBURSEMENT OF EXPENSES INCURRED FOR THE PERIOD
  FROM THE PETITION DATE THROUGH.A.ND INCLUDING DECEMBER 3I.2022

Name of Applicant                                         Quinn Emanuel Urquhart & Sullivan, LLP
Authorized to Provide Professional Services to:           the l)ebtors and l)ebtors-in-Possessron
Date of Retention:                                        January 20, 2023 nunc pro lunc fo
                                                          November 13, 2022
Period for which compensation and                         Petition Date through December 31,2022
reimbursement is sought:
Amount of Compensation sought as actual,                  $1,536,294.t5
reasonable and necessary:

800% ofCompensation       sought as actual,               sl,229,035.32
reasonable and necessary:

Amount of Expense Reimbursement sought as                 94,323.07
actual, reasonable, and necessary:


'Ihis is a(n) monthly X        interim _          final application. No prior application has been filed
with respect to this Fee Period.




    The last four digits ofFTX Trading Ltd.'s and Alameda Research LLC's tax identification number are 3288 and
    4063 rcspoctively. Due to the large number ofdebtor entities in these Chapter l1 Cases, a complete list ofthe
    Debtors and the last four digits oftheir federalta\ identification numbers is not provided herein. A complete
    list ofsuch information may be obtained on the website ofthe Debtors' claims and noticing agent at
    https r//cases.ra,krolì.com/FTX.
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                          SUMMÄRY OF BILLING BY PROFESSIONÀL
               THE PETITION DATE THROUGH AND INCLUDING DECEMBER 31.2022

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                                                                                                   ,': Totdl -".
                                                                              , ,IIou. i.ly¡
                                                             ,Law SCliool: . tRatè'.ì.               Hôûrs '
                                                             'GÍadúation:                          .ìBilled'
K. John Shaffer              Patfner             1989            1989          s1.917.00             1s7.20                    $301.152.40
William A. Burck             Pafner              2001            1998          $1.917.00             51.60                      s98.917.20
Sam Williamson               Partner             2001            2000          sl.9 t 7.00            49.20                     $94.316.40
Sascha Rand                  Pafiner             1998            1997          $l.s93.00             211.20                    si36.441.60
Katherine Lemire             PâÍner              1998            1997          s 1.s93.00             43.60                     s69.454.80
lsaac Nesser                 Partner             2003            2003          $1.440.00             41 .70                     s60.048.00
Eric D. Winston              PâÍner              1998            1998          s1.440.00             62.80                      s90.412.00
Anthonv Alden                PaÍner              2004            1999          $1.440.00             ?-o.60                     929.664.O0
Matthew R. Scheck            PâÍner              2007            2007          sl.3l 8.s0            68.80                      s90.712.80
                                                                                                     10i6-70 : .             st.17t:339.20
Andrew Kutscher              Counsel             20lo            2009          sr.215.00              10.50                     s12"757.s0
                                                                                                    ,r0.s0                      S12:757.50
Razmis Izakeìian             Associate           2013            2013          s1. r 83.50             3.10                       s3.668.85
Emilv Kapur                  Associate           2015            2015          s1.174.50              2.60                        s3.053.70
Jaclvn Palmerson             Associate           2016            2016          sr .r 43.00             8:20                       99.372.60
Mered ith Mandell            Associate           2017            2016          sl.l43_00              4.00                        s4.572.00
Samuel Seneczko              Associate           2019            2019            s985.50             247 .40                   9243.8t2.70
Natalie Huh                  Associate           2021            2020            s904.50              18.20                     s 16.461 .90
Olivìa Yeffet                Associate           2020            2020            s904.50              52.90                     $47.848.05
John Super                   Associate           202'l           2020            s904.50              0.60                         ss42.70
Tanmavi Sharma               Associate           2022            2021            $841.50             29.10                      s24.487.65
Liam Murphv                  Law Clerk                           2022            s508.50               5.30                       $2.695.05
Seth Rosenbers               Law Clerk                           2022            $s08.s0               7.00                      $3.559.50
ÀssÀòiàfê .& LâÍù. Clerk T                                                                         ' 378.40         ì         ts360.074.70
                                                                                                    ,r,09s,6 ',
Barhara .l Howell            Paralesal                                            s432.00              s.00                        s2.l 60.00
                                                                                                      't 't
Connie Kim                   Paralesal                                            $432.00                     _30                  s4-88r.60
                                                                                                      16.30             ì         $7.041.60
50% Non-Workins Travel                                                                                                          -s't4.918.85
                                                                                                    1.111.90                : $1.536;294,15

         + Zero rafe appears wherever no fee was charged for work.



                                         Blended Hourly Rate: $ 1,167.65




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                  STATEMENT OF FEES BY PROJECT CATEGORY2
        THE PA,TITION DATE THROUGH AND INCLUDING DECEMBI,R 31. 2022

                      Próiect,Nàiire..' : r 'r
                       '..                                                               Hours         lleè Amoi¡nt:
ASSET ANALYSIS AND RI]COVERY                                                             553.00          s740.536.20
AVOIDANCE ACTION ANALYSIS                                                                 s2.60           $79.065.00
BANKRUPTCY LITIGAT]ON                                                                     41.70           s63.629.5 5
ROARD / CORPORATE GOVERNANCE                                                              78.70          s134.657.55
CASE ADMINISTRATION                                                                      I 60.00         9220.511.25
F,MPI,OYMF,NT AND FEE APPLICATIONS                                                       166.30          s213.1 71 .10
INVESTIGATION                                                                             42.1tt          s69.804.45
5O% NON-V/ORKING TRAVEL                                                                   16.90           $ 14.91 8.8s

TOTAL                                                                                   r.111.90


                    SUMMARY OF ACTUAL AND NECESSARY EXPENSES


     ... .' . Eiéense.Catèsorr                      Serùice Pròvirlei.r if ADDlioable                AniÒunt , :
   Lexis Couflink                                  Lexis                                                   s21 .22
   Photoconvins                                                                                            s22.50
   Document Reþroduction ($. I Oipase)                                                                     s97.80
   Color Document Reproduction                                                                            $398.40
   ($.40lpase)
   Velobind                                                                                                $12.00
   I)oclÌment Services                                                                                    s177.73
   Travel                                                                                                 s605.1 0
   Local Business'l'ravel                                                                                  $16.9s
   Hotel                                                                                                  s42s.70
   Parkins                                                                                                s 120.00
   Out-of-Town Travel                                                                                     .$112.50
   Air Travel                                                                                          $2.260.00
                                                                                     OTAL.         : - $4.323.07




     The subject matter of certain time entries may be appropriate for more than one project category. In such
     instances, time entries generally have been included in the most appropriate çategory, Time entries do not
     appear in more than one category.

     Quinn Emanuel Urquhart & Sullivan, LLP may use one ormore service providers. The service providers
     identified herein are the primary servicc providers for the categories dçscrib€d.



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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELÄWÄRE

ln re:                                                         Chapter I I

FTX TRADING LTD., et a1.,1                                     Case No. 22-l1068 (JTD)


         Debtors.                                              (Jointly Administered)




         FIRST MONTHLY FEE STATEMENT OF QUINN EMANUEL
           URQUHART & SULLIVAN, LLP AS SPECIAL COUNSEL
          TO THE DEBTORS AND DEBTORS-IN-POSSESSION FOR
        COMPI,NSATION FOR PROFESSIONAL SERVICES RENDERED
     AND REIMBURSEMENT OF EXPENSDS INCURRED FOR THE PERIOD
  FROM THE PETITION DATE THROUGH AND INCLUDING DECEMBER 31, 2022

                 Quinn Emanuel Urquhart & Sullivan, LLP ("Quinn Emanuel"), special counsel to

FTX Trading Ltd. and its affiliated debtors and debtors-in-possession in the above-captioned

cases (collectively, the "Debtors"), hereby submits this first monthly fee statement

(this "Monthlv Fee Statement") for compensation for professional services rendered and

expenses incured for the period from the Petition Date through and including December 31,

2022 (the "Fee Period"). In support of the Monthly Fee Statement, Quinn Emanuel respectfully

states as follows:

                                                  Background

                  l.      On November 11 and November 14,2022,2 the Debtors filed with the

United States Bankruptcy Couft for the District of f)elaware (the "Coufi") voluntary petitions for




    The last four digits ofFTX Trading Ltd.'s and Alameda Research LLC'S tax identification number are 3288 and
    4063 respectively. Due to the large number ofdebtor entities in these Chapter I I Cases, a complet€ list ofthe
    Debtors and the last four digits oftheir federaltax identifiaation numbers is not provided he¡ein. A complete
    list of such information may be obtained on the website ofthe Debtors' claims and noticing agent at
    https://cases.ra.kroll.com/FTX.
    November 11, 2022 is the petition date for all Debtors, except for Dabtor \ryest Realm Shires lnc.
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relief under title I I of the United States Code, I I U.S.C. $$ 101 et seq. (as amended or modified,

the "Bankruptcy Code"). The Debtors continue to operate their businesses and manage their

properties as debtors-in-possession pursuant to sections 1107(a) and 1108 ofthe Bankuptcy

Code. Joint administration ofthe Debtors' cases (the "Chapter l1 Cases") was authorized by the

Court by entry ofan order on November 22,2022 [D.J. 128]. On December 15,2022. the Office

ofthe United States Trustee for the District of Delaware (the "U.S. Trustee") appointed an

Official Committee of Unsecured Creditors (the "Committee") pursuant to section 1102 of the

Bankruptcy Code [D.1. 23 1].

               2.      On January 20,2023, the Coufi entered The Order Authorizirtg lhe

Retention and Employment of Quinn Emanuel Urquhart & Sullivan, LLP as Special Counsel for

the Debtors and Debtors in Possessrbz, Nunc Pro Tunc to Not'ember 13, 2022, [D.1. 548]

authorizing the retention and employment of Quinn Emanuel as the Debtors' special counsel,

nunc pro /znc to November 13,2022.

               3.      On January 9, 2023, the Couft entered lhe Order Eslablishing Procedures

.for Inlerim Compensalion and Reimbursemenl of Expenses of ProJèssionals [D.1. 435]

(the "Interim Compensation Order").

                                          Relief Requested

               4.      By this Monthly Fee Statement and in accordance with the Interim

Compensation Order. Quinn Emanuel makes this application for (i) allowance of compensation

as an administrative expense ofthe Debtors' estates in the amount of $1,536,294.15 for


reasonable and necessary professional services rendered, (ii) payrnent of compensation in the

amount of 80olo thereof (in the amount of 91,229,035.32) and (iii) payment of 54,323.07 for

actual and necessary expenses incurred.




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       a. CompensationRequestcd
               5.      The services performed by Quinn Emanuel during the Fee Period

included, among others, issues involving asset analysis and recovery, avoidance action analysis,

bankruptcy litigation, board ofdirectors and corporate governance, investigations, and general

case administration. Attached hereto as   [!]þi!!       is a detailed itemization, by project category,

ofall services performed by Quinn Emanuel with respect to the Chapter I I Cases during the Fee

Period. This detailed itemization complies with Local Rule 2016-2 in that each time entry

(i) contains a separate time allotment, (ii) contains a description ofthe type ofactivity and the

subject mattcr ofthe activity, (iii) is billed in increments ofone-tenth (l/10) ofan hour, (iv) is

presented chronologically in categories, and (v) individually identifies all meetings or hearings.

               6.      The tirnekeepers who rendered services related to each category are

identified in Exhibit A, along with the number ofhours for each individual and the total

compensation sought by each category. All services for which Quinn Emanuel requests

compensation were performed for, or on behalfof, the Debtors.

        b. ExpenseReimbursement
               7.      Quinn Emanuel incurred out-of-pocket expenses during the Fee Period in

the amount of $4,323.07. Attached hereto as    Sþlþi!! is a description of the expenses actually
incurred by Quinn Emanuel in the performance of services rendered as Special Counsel to the

Debtors. The expenses are broken down into categories ofcharges, which rnay include, among

other things, the following charges: photocopying, printing, outgoing facsimiles, document

retrieval, postage, third-party conference calls, messenger service, transcripts, computerized legal

research, filing fees, working meals, secretarial overtime, and other expenses.

               8.      ln accordance with section 330 ofthe Bankruptcy Code, Quinn Emanuel




                                                    J
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seeks reimbursement only for the actual cost of such expenses to Quinn Emanuel. Quinn

Emanuel submits that all such expenses incurred were customary, necessary and related to the

Chapter I I Cases and, by this Monthly Fee Statement, requests reimbursement of the same.

                                       Valuation of Services

               9.       Professionals of Quinn Emanuel have expended a total of I ,l I I .90 hours

in connection with this matter during the Fee Period.

               10. The amount oftime spent by each ofthe professionals providing services
to the Debtors for the Fee Period is set forth in Dxhibit A. The rates are Quinn Etnanuel's

normal hourly rates of compensation for work ofthis character, discounted by l0%. The

reasonable value ofthe services rendered by Quinn Emanuel for the Fee Period as Special

Counsel for the Debtors in the Chapter I I Cases is 91,536,294.15.

               I   l.   Quinn Emanuel believes that the time entries included in Exhibit A

attached hereto and the expense breakdown set forth in   [!]þi!!     attached hereto are in

compliance with the requirements of Local Rule 2016-2.

               12. In accordance with the factors enumerated in section 330 ofthe
Bankruptcy Code, the amount requested is fair and reasonable given the cornplexities ofthese

Chapter I I Cases, the time expended, the nature and extent ofthe services rendered, the value of

such services, and the costs ofcomparable services other than in a case under this title.

                              Certificate of Compliance and Waiver

               13. The undersigned representative ofQuinn Emanuel certifies that he has
reviewed the requirements of Local Rule 2016-2 and that the Monthly Fee Statement

substantially complies with such rule. To the extent that the Monthly Fee Statement does not

comply in all respects with the requirements ofLocal Rule 2016-2, Quinn Emanuel believes that




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such deviations are not material and respectfully requests that any such requirements be waived.

                                   Notice and No Prior Request

                14. Notice of this Monthly Fee Statement has been given to the following
parties or, in lieu of, to their counsel, if known: (a) the U.S. Trustee; (b) the Offìcial Committee

of Unsecured Creditors: and (c) all parties required to be given notice in the Interim

Compensation Order. Quinn Emanuel submits that no other or further notice is necessary.

                15. No prior request for the relief sought in this Monthly Fee Statement has
been made to this or any other Couft.

               WHEREIIORE, Quinn Emanuel respectfully requests that the Bankruptcy Court

(i) approve the Monthly Fee Statement and (ii) grant such further reliefas isjust and proper.



Dated: New York, New York
       February 7,2023


                                                               /s/ Sascha N. Rand
                                                               Sascha N. Rand
                                                               Partner, Quinn Emanuel Urquhart &
                                                               Sullivan, LLP
